186 F.3d 1200 (9th Cir. 1999)
    MARK SUSSMAN; KEN GERRIN; PERRY CARTER; SIMONE LUND; VANESE MCNEIL; AMIN A. FARUQI;  BETTY KOSS; ROBERT BOZOYAN; LILIAN HEDRICK; EVANGELINE RAGASA; CHRISTOPHER ROGERS;  PATRICIA HOPKINS; DERRICK C. LESHURRE; DEANNA WILLIAMS, Plaintiffs-Appellants,v.AMERICAN BROADCASTING COMPANIES, INC., dba KABC-TV Inc.; THOMAS ALBERT OETGEN; BOB CALO; RICHARD KAPLAN; WALTER PORGES; IRA ROSEN; STACY LESCHT; AMERICAN BROADCASTING COMPANIES, INC.; CLAYTON MCVICKER, Defendants-Appellees.
    No. 97-55410
    UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
    Argued and Submitted November 3, 1998Decided August 18, 1999
    
      Neville L. Johnson, Neville L. Johnson &amp; Associates, Los  Angeles, California, for the plaintiffs-appellants.
      Steven M. Perry, Munger, Tolles &amp; Olsen, Los Angeles, California, for the defendants-appellees.
      Appeal from the United States District Court for the Central District of California  James M. Ideman, District Judge, Presiding. D.C. No. CV-94-08524-JMI-Ex.
      Before: Alex Kozinski and Andrew J. Kleinfeld, Circuit Judges, and Owen M. Panner,*  District Judge.
      OPINION
      KOZINSKI, Circuit Judge:
    
    
      1
      We decide whether ABC's surreptitious videotapings during an investigation of the Psychic Marketing Group could  have violated 18 U.S.C. S 2511 (1994), the federal wiretapping statute.
    
    
      2
      * ABC hired Stacy Lescht to pose as a psychic telephone  advisor in order to gain access to the offices of the Psychic  Marketing Group (PMG). While working in the Los Angeles  office of the PMG, Lescht used various surveillance devices  to record the activities around her. Some of these recordings  were aired in a segment of the ABC News program PrimeTime Live.
    
    
      3
      Soon thereafter, two PMG employees who had been taped  filed suit in state court alleging various causes of action,  including invasion of privacy by photography.1 The jury  found for plaintiffs on this claim but the California Court of  Appeal reversed. See Sanders v. American Broad. Cos., 60  Cal. Rptr. 2d 595, 599 (Cal. Ct. App. 1997).2 The California  Supreme Court, in turn, reversed the Court of Appeal, holding  that the covert taping of office conversations by a television  reporter could be actionable as an invasion of privacy. See  Sanders v. American Broad. Cos., 978 P.2d 67 (Cal. 1999).
    
    
      4
      Prior to the Supreme Court's ruling, more than a dozen current and former PMG employees, plaintiffs here, filed a lawsuit based on the same conduct as in Sanders; plaintiffs  asserted, inter alia, claims for eavesdropping under 18 U.S.C.  S 2511.3 Defendants subsequently removed the case to federal  court. The district court granted defendants' motion for summary judgment and plaintiffs appeal.
    
    II
    Section 2511 reads in pertinent part:
    
      5
      It shall not be unlawful under this chapter for a per son not acting under color of law to intercept a wire, oral, or electronic communication where such person is a party to the communication or where one of the parties to the communication has given prior consent to such an interception unless such communication is intercepted for the purpose of committing any crimi nal or tortious act in violation of the Constitution or laws of the United States or of any State.
    
    
      6
      18 U.S.C. S 2511(2)(d) (emphasis added). Because ABC was  not acting under color of law, and because Lescht was always  a party to the conversations being taped,4  the case turns on the underscored portion of the statute, which asks whether the  interception was "for the purpose of committing any criminal  or tortious act." The district court ruled that it was not,  because ABC had done the taping for news gathering purposes: "[W]here a journalist is party to a conversation, the  recording of such a conversation for news gathering purposes  is not criminal or tortious conduct within the meaning of the  statute." If the district court interpreted section 2511 as containing a blanket exemption for journalists, we cannot agree.  Congress could have drafted the statute so as to exempt all  journalists from its coverage, but did not. Instead, it treated  journalists just like any other party who tapes conversations  surreptitiously.
    
    
      7
      The district court may have meant, however, that defendants were exempt because they had a lawful purpose for the  surreptitious taping, namely news gathering. The court may  have reasoned that any time the interception serves a lawful  purpose, it perforce does not violate section 2511. But the  existence of a lawful purpose does not mean that the interception is not also for a tortious or unlawful purpose. For example, assume that a news gathering organization secretly  videotapes bedroom activities. Even though there may be a  legitimate news gathering purpose (e.g., listening for "pillow  talk" about some newsworthy event), public airing of such a  tape may be illegal or tortious under state law. Under these  circumstances, the taping could be for both a legitimate purpose (news gathering) and also an unlawful or tortious purpose (airing private intimate conduct). The existence of the  lawful purpose would not sanitize a tape that was also made  for an illegitimate purpose; the taping would violate section  2511.
    
    
      8
      Plaintiffs here have pointed to no state statute or  caselaw indicating that it was tortious or illegal for ABC to  air the tapings made by Lescht. In fact, the California Court  of Appeal recently emphasized that "[n]ewsworthiness . . . is  a complete bar to liability for publication of private facts and  is evaluated with a high degree of deference to editorial  judgment." Marich v. QRZ Media, Inc. , 86 Cal. Rptr. 2d 406,  419 (Cal. Ct. App. 1999).  While plaintiffs have claimed that  ABC's story was factually incorrect and unfair, they have  never claimed it was not newsworthy. Nor do they argue that  the tape was made for the purpose of committing some other  subsequent crime or tort. Rather, plaintiffs point to Sanders  and argue that the taping itself was tortious. If an otherwise  lawful taping violates section 2511 when committed for a prohibited purpose, argue plaintiffs, the section must also be violated when the taping itself is illegal or tortious. This  argument finds no support in the statute. Under section 2511,  "the focus is not upon whether the interception itself violated  another law; it is upon whether the purpose for the  interception--its intended use--was criminal or tortious."  Payne v. Norwest Corp., 911 F. Supp. 1299, 1304 (D. Mont.  1995), aff'd in part and rev'd in part, 113 F.3d 1079 (9th Cir.  1997). See also Deteresa v. American Broad. Cos., 121 F.3d  460, 467 n.4 (9th Cir. 1997) (emphasizing the distinction  between a taping that is itself tortious or criminal, and one  carried out for the purpose of committing some other crime or  tort). Where the taping is legal, but is done for the purpose of  facilitating some further impropriety, such as blackmail, section 2511 applies. Where the purpose is not illegal or tortious,  but the means are, the victims must seek redress elsewhere.
    
    
      9
      Although ABC's taping may well have been a tortious  invasion of privacy under state law, plaintiffs have produced  no probative evidence that ABC had an illegal or tortious purpose when it made the tape. We may affirm the district court  on any basis supported by the record. See, e.g.  United States  v. Albers, 136 F.3d 670, 672 (9th Cir. 1998).
    
    
      10
      AFFIRMED.
    
    
      
        Notes:
      
      
        1
         It is unclear whether plaintiffs had pleaded this in their complaint, as  the state trial judge sua sponte instructed the jury on the elements of the " `sub-tort' of `the right to be free of photographic invasion.' " Sanders,  60 Cal. Rptr. 2d at 596.
      
      
        2
         The reversal was only as to one of the plaintiffs; the other one, Naras  Kersis, died during the pendency of the proceedings, and so his suit was  dismissed.
      
      
        3
         Plaintiffs also raised various state law claims but none of those are at  issue in this appeal.
      
      
        4
         Plaintiffs argue that Lescht taped some conversations to which she was  not a party, but they have presented no evidence supporting this claim.
      
    
    